  Case 1:15-cv-01170-GMS Document 84 Filed 11/29/16 Page 1 of 4 PageID #: 1559


                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Plaintiffs,                  )      C.A. No. 15-1125-GMS
         v.                                   )
                                              )
ASUSTEK COMPUTER INC.,                        )
ASUS COMPUTER INTERNATIONAL,                  )
                                              )
                 Defendants.                  )
                                              )
                                              )
MICROSOFT CORPORATION,                        )
                                              )
                 Intervenor-Plaintiff,        )
         v.                                   )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Intervenor-Defendants.       )
                                              )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Plaintiffs,                  )      C.A. No. 15-1127-GMS
         v.                                   )
                                              )
VISUAL LAND, INC.,                            )
                                              )
                 Defendant.                   )
                                              )
                                              )
MICROSOFT CORPORATION,                        )
                                              )
                 Intervenor-Plaintiff,        )
         v.                                   )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Intervenor-Defendants.       )



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KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Plaintiffs,                  )   C.A. No. 15-1130-GMS
         v.                                   )
                                              )
DOUBLE POWER TECHNOLOGY, INC.,                )
ZOWEE MARKETING CO., LTD.,                    )
SHENZEN ZOWEE TECHNOLOGY CO.,                 )
LTD.,                                         )
                                              )
                 Defendants.                  )
                                              )
                                              )
MICROSOFT CORPORATION,                        )
                                              )
                 Intervenor-Plaintiff,        )
         v.                                   )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Intervenor-Defendants.       )
                                              )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Plaintiffs,                  )   C.A. No. 15-1131-GMS
         v.                                   )
                                              )
YIFANG USA, INC. D/B/A E-FUN, INC.,           )
                                              )
                 Defendant.                   )
                                              )
                                              )
MICROSOFT CORPORATION,                        )
                                              )
                 Intervenor-Plaintiff,        )
         v.                                   )
                                              )
KONINKLIJKE PHILIPS N.V.,                     )
U.S. PHILIPS CORPORATION,                     )
                                              )
                 Intervenor-Defendants.       )
                                              )


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KONINKLIJKE PHILIPS N.V.,                          )
U.S. PHILIPS CORPORATION,                          )
                                                   )
                 Plaintiffs,                       )         C.A. No. 15-1170-GMS
         v.                                        )
                                                   )
ACER INC.,                                         )
ACER AMERICA CORPORATION,                          )
                                                   )
                 Defendants.                       )
                                                   )
                                                   )
MICROSOFT CORPORATION,                             )
                                                   )
                 Intervenor-Plaintiff,             )
         v.                                        )
                                                   )
KONINKLIJKE PHILIPS N.V.,                          )
U.S. PHILIPS CORPORATION,                          )
                                                   )
                 Intervenor-Defendants.            )
                                                   )

                                         NOTICE OF SERVICE

         The undersigned hereby certifies that on the 18th day of November, 2016, MICROSOFT

CORPORATION’S CORE TECHNICAL DOCUMENT PRODUCTION PURSUANT TO

THE DELAWARE DEFAULT STANDARD FOR DISCOVERY, INCLUDING

DISCOVERY OF ELECTRONICALLY STORED INFORMATION was served upon the

below-named counsel of record at the address and in the manner indicated:



Michael P. Kelly, Esquire                                        VIA ELECTRONIC MAIL
MCCARTER & ENGLISH, LLP
405 North King Street, 8th Floor
Wilmington, DE 19801

Michael P. Sandonato, Esquire                                    VIA ELECTRONIC MAIL
FITZPATRICK, CELLA, HARPER & SCINTO
1290 Avenue of the Americas
New York, NY 10104-3800


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                                            ASHBY & GEDDES

                                            /s/ Andrew C. Mayo
                                            ____________________________
                                            Steven J. Balick (#2114)
Of Counsel:                                 Andrew C. Mayo (#5207)
                                            500 Delaware Avenue, 8th Floor
Chad Campbell                               P.O. Box 1150
Jared W. Crop                               Wilmington, Delaware 19899
PERKINS COIE LLP                            (302) 654-188
2901 North Central Avenue, Suite 2000       sbalick@ashby-geddes.com
Phoenix, AZ 85012-2788                      amayo@ashby-geddes.com
(602) 351-8000
                                            Attorneys for Microsoft Corporation
Judy Jennison
Christina McCullough
PERKINS COIE LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
(206) 359-8000

Dated: November 29, 2016




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